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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 FELICIA BINION WILLIAMS,
 420 Oglethorpe Street, NW
 Washington, D.C. 20011

                Plaintiff,

        v.
                                                               Civil Action No. 23-0312
 HON. BERYL A. HOWELL and
 HON. RUDOLPH CONTRERAS,
 U.S. District Court for the District of Columbia
 333 Constitution Avenue, NW
 Washington, D.C. 20001

                Defendants.


                      NOTICE OF REMOVAL OF A CIVIL ACTION

       Pursuant to 28 U.S.C. § 1442(a)(1), Defendants Chief Judge Beryl A. Howell and Judge

Rudolph Contreras, (collectively, “Defendants”), by and through undersigned counsel, hereby file

this Notice of Removal (“Notice”). In support of this Notice, the following facts are relied upon.

       1.      Defendants are in receipt of a Complaint in the case Felicia Binion Williams v.

Honorable Beryl A. Howell et al., Civil Action No. 2022 CA 006038 B, filed in the Civil Division

of the Superior Court of the District of Columbia (the “Civil Action”) on or around December 28,

2022. Plaintiff apparently filed an amended complaint thereafter. There is no evidence showing

that the complaint and summons were properly served upon Defendants under D.C. Superior Court

Rule 4(i) or its equivalent Federal Rule of Civil Procedure 4(i). Defendants received a summons

and an incomplete copy of the complaint on or about January 4, 2023, via certified mail, but

Plaintiff may not validly effect service because she is a party to the action and service of part of

the complaint is invalid. Superior Court Rule 4(c)(2); Fed. R. Civ. P. 4(c)(2). As of the filing of
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this Notice of Removal, the Civil Process Clerk for the U.S. Attorney’s Office has not received

anything relating to the case pending in the Superior Court. A copy of the Complaint is attached

hereto as Exhibit A.

       2.         Removal of this case is appropriate pursuant to 28 U.S.C. § 1442(a) because

Defendants are federal judges who are officers of the United States being sued for acts or omissions

in carrying out their duties. See Jefferson Cty, Ala. v. Acker, 527 U.S. 423, 431 (1999) (holding

that county tax collection suit brought against federal judges was properly removed from state to

federal court).

       3.         A notice of filing of this Notice of Removal will be filed in the Superior Court of

the District of Columbia.

       WHEREFORE, the action now pending in the Superior Court of the District of Columbia

is properly removed to this Court pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446.


Dated: February 3, 2023
       Washington, DC
                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES, D.C. Bar #481052
                                                 United States Attorney

                                                 BRIAN P. HUDAK
                                                 Chief, Civil Division


                                                 By:           /s/ Jane M. Lyons
                                                       JANE M. LYONS, D.C. Bar #451737
                                                       Assistant United States Attorney
                                                       601 D Street, NW
                                                       Washington, DC 20530
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                                                       jane.lyons@usdoj.gov

                                                 Attorneys for the United States of America




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                                CERTIFICATE OF SERVICE

       I certify that on February 3, 2023, I caused a copy of the foregoing Notice of Removal of

Civil Action to be served by sending a duplicate through the United States Postal Service with

prepaid first class postage and addressed to:


               FELICIA BINION WILLIAMS
               420 Oglethorpe Street, NW
               Washington, D.C. 20011


                                                      /s/ Jane M. Lyons
                                                      JANE M. LYONS
                                                      Assistant United States Attorney




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